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March 30, 2018

Roxann Ward, BSE, CSWII

36" judicial Circuit ~ Butler County

1903 Northwood Drive RE: M.H.
PO Box 8 DOB:

Popular Bluff, MO 63902

Dear Ms. Ward:

fam writing to submit the end of the quarter summary of visits for M-H. | | pave seen her once per
month as promised, She is really doing well this quarter as she has moved to the Honor roll at school.
She is very pleased with her progress and has been making friends too. She knows her peers now and
has made a solid adjustment to the school and the teachers. At home, she has continued to be adjusting
well. Her sister M.S.H. has been teaching her how to cook vegan as she has decided to follow that diet
plan. Her interest in cooking has steadily grown so that now she is able to fix some wonderful meals.
Her adjustment to the family and to school is going very well,

She reports to me that the GAL has been coming to see her at school, She tells me that it seers odd to
her as she did nat see this much of her when she was places in foster care. She also tells me that the
GAL has brought two rounds of gifts to her school form her paternal grandmother and from her Dad.
She is not sure what that is about but she finds it unusual. She also reports that the GAL has been asking
her about her Mother's psychological testing. [ find this to be more than unusual. Perhaps this is just
me being cynical, but it seems to me that she is using her access toM-H. to put pressure on her about
the upcoming trial of her Father related to the sexual abuse of her sister M.S.H.. It seems that tam the
one who keeps reporting to you the irregularities of the process. | do not think it would be a jump in
logic to say that the gifts are a way to send M.S.H. a message about her testimony in the case. f also
think itis a way to put pressure on M.H. . that she could be going back into foster care if she testifies
against her Father.

t have a hard time with the request by the GAL to have Ms. Haynes psychological testing repeated
without any specific questions that need to be answered. | have to be on the record saying that j think
what has happened in the last two months with M.H. — and the GAL is a form of witness tampering. |
would like to again state that {see no reason why this case is still open except to give the GAL access to
the girls before the trail.

Respectfully submitted,

hn

jerry L. Marks EXHIBIT 37
 

 

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